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                      Brittany C. Huntington, B.S., M.S.                    Senior Forensic Chemist
                      Department of Justice                                 Western Regional Laboratory
                      Drug Enforcement Administration                       Pleasanton, CA
                      Office of Forensic Science


                                            AREA OF EXPERTISE

Forensic Discipline
       Seized Drug Analysis

Expert Testimony
     Testified 25 times
     Testimonies in the last four years:
          o 2021, (video testimony for Denver, CO), United States v. Pappas
          o 2021, (Seattle, WA), United States v. Woolard
          o 2021, (Anchorage, AK), United States v. Alvarez
          o 2019, (Denver, CO), United States v. Nolan

                                      PROFESSIONAL EXPERIENCE
DRUG ENFORCEMENT ADMINISTRATION
FORENSIC CHEMIST, Western Laboratory, (Pleasanton, CA), 2009-present
     Main duties include the analysis of submitted evidence for the presence or absence of controlled substances
     Have analyzed approximately 3325 exhibits (approximately 1400 methamphetamine identifications, 415 cocaine
      identifications, 500 heroin identifications, 325 marijuana and related substances identifications, and 200 fentanyl
      and related substances identifications)
     Maintained instrumentation utilized in evidence analysis as Instrument Specialist from 2017-2018
     Assist in the training of our new chemists as one of the in-house Training Officers, 2019-2021

Training
     Drug Enforcement Administration (DEA) Western Laboratory, Forensic Chemist Training Program, (San
      Francisco, CA), 2009
     DEA Western Laboratory, Infrared Properties, (San Francisco, CA) 2009
     DEA Office of Forensic Science, Basic Forensic Science School, (Quantico, VA), 2010
     DEA Office of Training, Basic Clandestine Laboratory Certification School, (Quantico, VA) 2010
     Agilent Technologies, Gas Chromatograph Maintenance Training, (Alpharetta, GA) 2010
     Waters, High Performance Liquid Chromatography Training, (San Francisco, CA) 2010
     DEA Western Laboratory, Clandestine Phenethylamine Laboratory Analytical and Syntheses Training, (San
      Francisco) 2010
     DEA Office of Training, Portable Raman Training, (San Francisco, CA) 2011
     Network Environmental Systems, Clan Labs of Concern: Beyond Meth, (Folsom, CA) 2011
     Jason Nawyn, Synthetic Cannabinoids/Substituted Cathinones, (San Francisco, CA) 2011
     DEA Office of Training, DEA Level "A" Certification Course, (Valencia, CA) 2011
     DEA Special Testing Laboratory, Nuclear Magnetic Resonance Training, (San Francisco, CA) 2012
     DEA Special Testing Laboratory, Methamphetamine/Meth Profiling Program Training, (San Francisco, CA) 2012
     California Association of Criminalists (CAC), Measurement Assurance Panel, (Hayward, CA) 2012
                                                                                                       Exhibit 4A-1
                                                                                              Page 1 of 4 (11/16/2022)
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      CAC, Narcotic Trafficking in Northern California, (Hayward, CA) 2012
      Agilent Technologies, Controlled Substances Analysis, (San Francisco, CA) 2014
      Agilent Technologies, Low Thermal Mass (LTM) Capabilities, (San Francisco, CA) 2014
      Oklahoma State University Center for Health Sciences, School of Forensic Sciences, Center for Improvised
       Explosives; WMD Laboratory Recognition for Forensic Scientists; (San Francisco, CA) 2014
      Dean A. Kirby, Field Report: The Manufacture of Cannabis Concentrates, (Pleasanton, CA) 2015
      DEA Office of Training; Instructor Development Course (Quantico, VA) 2015
      Clandestine Laboratory Investigating Chemists (CLIC), Improvised Explosives and Methamphetamine One-Pot
       Remediation, (Oklahoma City, OK) 2015
      Agilent, LTM Theory and Operational Concepts, (Pleasanton, CA) 2016
      DEA Special Testing Laboratory, LTM Method Development, (Pleasanton, CA) 2016
      DEA Office of Forensic Sciences, Lean Six Sigma Training and Implementation, (Pleasanton, CA) 2018
      DEA Office of Training, Aspiring Leaders Conference, (Quantico, VA) 2018
      DEA Office of Training, Field Training Chemist Course, (Quantico, VA) 2019
      CAC, Cannabis Workshop, (Oakland, CA) 2019
      CAC, ANAB Risk-Based Thinking Workshop, (Oakland, CA) 2019
      DEA Office of Training, Structured Interview Panel, (Quantico, VA) 2022

SACRAMENTO DISTRICT ATTORNEY'S LABORATORY OF FORENSIC SERVICES
CONTROLLED SUBSTANCES INTERN, Controlled Substances Section, (Sacramento, CA) 2008-2009
      Learned how to conduct drug analysis utilizing color tests, microcrystalline tests. Infrared spectrometry, and gas
       chromatography-mass spectrometry
      Conducted thesis research of synthesizing and analyzing the hallucinogen bromo-dragonfly
      Assisted thesis supervisor with numerous methamphetamine cooks for local classes

Training
      California Criminalistics Institute (CCI), Basic Practical Microscopy, (Sacramento, CA) 2008


UNIVERSITY OF CALIFORNIA, DAVIS
TEACHER'S ASSISTANT, Department of Environmental Toxicology: Introduction to Forensic Science, (Davis, CA)
2008
      Built lesson plans/PowerPoint presentations summarizing the topics covered in class each week, which I would
       then present to the students one night each week
      Held additional office hours each week to assist students with understanding core concepts
      Developed homework assignments, paper topics, and test questions, and graded all of these assignments

TEACHER'S ASSISTANT, Forensic Science Graduate Group: Personal Identification Methods, (Davis, CA) 2008
      Held office hours each week to assist students with understanding core concepts
      Developed homework assignments, paper topics, and test questions, and graded all of these assignments

SOUTH LAKE TAHOE POLICE DEPARTMENT
EVIDENCE TECHNICIAN INTERN, Evidence Technician Section, (South Lake Tahoe, CA) 2006
      Main duties included handling, processing, and storing evidence, as well as crime scene investigation

NORTHEASTERN UNIVERSITY
                                                                                                       Exhibit 4A-2
                                                                                              Page 2 of 4 (11/16/2022)
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UNDERGRADUATE RESEARCHER, Department of Chemistry & Chemical Biology/Barnett Institute, (Boston, MA)
2006-2007
       Assisted in the Dana-Farber Joint Program in Cancer Drug Discovery
       Derivatized urine samples from male cancer patients and analyzed by liquid chromatography

LABORATORY ASSISTANT, Department of Chemistry & Chemical Biology, (Boston, MA) 2003-2007
       Assisted with the set-up and teaching of all undergraduate organic chemistry lab classes
       Contributed with the development of new experiments for the classes
       Assisted with the ordering and stocking of chemicals and glassware

                                      EDUCATION AND CERTIFICATIONS
Northeastern University (Boston, MA)
     Bachelor of Science (B.S.) degree in Chemistry, minor in Criminal Justice; 2007
University of California at Davis (Davis, CA)
       Master of Science (M.S.) degree in Forensic Science; 2009

Certifications
       DEA Clandestine Laboratory Investigation (2010 to present)
       DEA Advanced Site Safety (2015 to present)
       DEA Field Training Chemist (2019-present)
       DEA Structured Interview Panel, Core Series (2022-present)


                                      PRESENTATIONS AND LECTURES

       Presenter, Mentoring Across the Curriculum: The Co-op Advantage
             o     231st American Chemical Society (ACS) National Meeting, (Atlanta, GA) 2006
       Contributor, Quantitation of Estrogens in Male Plasma Using Liquid Chromatography with an Electrochemical
        Detector
             o 233rd ACS National Meeting, (Chicago, IL) 2007
       Instructor, “Hands –on" manufacturing of methamphetamine
             o     Multiple CCI Clandestine Laboratory Analysis and Synthesis classes, (Sacramento, CA) 2008-2009
       Presenter; Synthesis and Intermediate/By-Product Analysis of Bromo-dragonfly, a Dihydrobenzofuran Analogue
        of Phenethylamine Hallucinogens
             o     CAC Semi-Annual Seminar, (Sacramento, CA) 2011
       Instructor, “Hands –on" manufacturing of methamphetamine
             o     DEA Basic Clandestine Laboratory Safety Course #52, (Quantico, VA) 2011
       Instructor, Analysis of Multi-Unit Exhibits
             o     San Francisco Assistant United States Attorney (AUSA) Training, (San Francisco, CA) 2012
       Instructor, “Hands –on" manufacturing of methamphetamine
             o     National Guard Clandestine Laboratory Certification School, (Meridian, ID) 2012
       Presenter, Optimizing the Analysis of Synthetics
             o     CAC Drug Study Group, (Richmond, CA) 2014
       Instructor, “Hands –on" manufacturing of methamphetamine

                                                                                                      Exhibit 4A-3
                                                                                               Page 3 of 4 (11/16/2022)
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        o    Department of Justice (DOJ) Basic Clan Lab Certification Course, (Santa Rosa, CA) 2014
   Presenter, Synthetic Cannabinoids and Cathinones: A Case Study from Seizure to Trial
        o    CAC Semi-Annual Seminar, (Rohnert Park, CA) 2014
        o    Los Angeles County Department of Medical Examiner-Coroner's West Coast Conference, (North
             Hollywood, CA) 2015
        o    CLIC's 25th Annual Technical Training Seminar, (Oklahoma City, OK) 2015
   Co-Presenter, Cannabis Extracts
        o    DEA Agent Clandestine Laboratory Recertification, (Pleasanton, CA) 2015
   Presenter, Gas Chromatography-Mass Spectrometry Limits of Detection and Best Practices
        o    DEA Western Laboratory Brown Bag Lunch, (Pleasanton, CA) 2016
   Co-Presenter, Annual Clandestine Laboratory Recertification
        o    Seattle Field Division Recertification, (Seattle, WA) 2017
   Presenter, Basic Drug Identification
        o    DEA/Rocky Mountain High Intensity Drug Trafficking Area (RMHIDTA) Basic Drug Investigations, (West
             Valley City, UT) 2017
   Presenter, Annual Clandestine Laboratory Recertification
        o    Billings Resident Office Recertification, (Billings, MT) 2017
   Presenter, Fentanyl and High Hazard Compounds
        o    Salt Lake Valley HazMat Committee Training, (Sandy, UT) 2018
   Instructor, Level A Clandestine Laboratory Investigations
        o    DEA High Hazard Clandestine Laboratory Certification, (Valencia, CA) 2018
   Instructor, Gas Chromatography-Mass Spectrometry Subject Matter Expert
        o    DEA Basic Forensic Chemist Course, (Quantico, VA) 2020
   Instructor, Intro to HazMat at Clan Labs
        o    San Jose Fire Department Hazardous Materials Training, (San Jose, CA) 2020
        o    Salt Lake City National Guard Hazardous Materials Training, (Salt Lake City, UT) 2020
   Instructor, Field Test Training
        o    Various federal, state, and local law enforcement trainings, 7 classes total, 2009-present


                                               PUBLICATIONS
   "Supercritical Fluid Extraction of Cannabis." Journal Clandestine Laboratory Investigating Chemists Association,
    Volume 26, Number 2, April 2016, pp. 21-24




                                                                                                    Exhibit 4A-4
                                                                                           Page 4 of 4 (11/16/2022)
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                                             U.S. Department of Justice
                                             Drug Enforcement Administration
                                             Western Laboratory
                                             6880 Koll Center Parkway
                                             Pleasanton, CA 94566
___________________________________________________________________________
www.dea.gov



TO:               Jennifer Clark
                  Assistant U. S. Attorney


FROM:             Brittany C. Huntington
                  Senior Forensic Chemist
                  DEA Western Laboratory


SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA LIMS Case Number(s): 2022-SFL7-04530, 2022-SFL7-04531

Date: March 9, 2023


The following summary of testimony is provided as required by Federal Rule of Criminal
Procedure 16(a)(1)(G) and is a complete statement of my opinions, which are exclusive to and
address only the exhibit(s) identified in this summary:

1. My name is: Brittany C. Huntington

2. I am employed by the U.S. Department of Justice, Drug Enforcement Administration (DEA),
   in the capacity of Senior Forensic Chemist, and was so employed when I conducted the
   examinations and analyses described below. My qualifications to conduct the examinations
   and analyses, and to express an opinion as to the identity of the material contained in the
   exhibit(s) described below, are based on my knowledge, skill, experience, training, and
   education. See my attached Curriculum Vitae for additional information regarding my
   qualifications, including previous testimony offered in the last four years and any
   publications authored in the last ten years.

3. The opinions described below are based on the following chemical, physical, and
   instrumental analyses, the results generated by those analyses, and my interpretation of those
   results set forth in the forthcoming Laboratory Report and analyst notes.



SF Rule 16 (Chemistry) (March 2023)                Approved by: DEA Office of Forensic Sciences (SF)
                                                                                         Page 1 of 3

                                                                                      Exhibit 4B-1
     Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 6 of 23
SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA LIMS CASE NUMBER(S): 2022-SFL7-04530, 2022-SFL7-04531



   The manner and process by which I performed the analyses were, to the best of my
   knowledge, in accordance with the publicly available Analysis of Drugs Manual (ADM) and
   Laboratory Operations Manual (LOM), in effect at the time of analysis. These are generally
   available at:

   https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596, or were
   otherwise disclosed upon request.

4. I analyzed the material contained in the exhibits which were submitted for analysis in the
   above referenced case number(s). My conclusions are included as part of forthcoming
   forensic laboratory reports and analyst notes.

5. The material referred to herein as exhibit #2022-SFL7-04530, as represented in the forensic
   laboratory reports and accompanying case file, has been identified as follows:

       a.   Substances identified: methamphetamine hydrochloride*
       b.   Net weight: 86.5 g ± 0.2 g **
       c.   Purity of methamphetamine hydrochloride: 100% ± 6%***
       d.   All units were selected for qualitative analysis.

    The above opinion is based on the following physical, chemical, and instrumental analyses:

       i. Gas Chromatography/Mass Spectrometry
       ii. Infrared Spectroscopy
       iii. UV-Vis Spectroscopy


6. The material referred to herein as exhibit #2022-SFL7-04531, as represented in the forensic
   laboratory reports and accompanying case file, has been identified as follows:

       a.   Substances identified: fentanyl, acetaminophen*
       b.   Net weight: 103.333 g ± 0.003 g **
       c.   Purity of fentanyl (calculated as hydrochloride): 2.6% ± 0.6%***
       d.   A statistical sampling approach based on the probability theory of the hypergeometric
            distribution was used.

    The above opinion is based on the following physical, chemical, and instrumental analyses:

        i. Gas Chromatography/Mass Spectrometry
        ii. Immunoassay Test
        iii. Gas Chromatography



SF Rule 16 (Chemistry) (March 2023)                Approved by: DEA Office of Forensic Sciences (SF)
                                                                                         Page 2 of 3
                                                                                       Exhibit 4B-2
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SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA LIMS CASE NUMBER(S): 2022-SFL7-04530, 2022-SFL7-04531

The analytical methods used in the above analyses are validated and verified according to our
quality assurance policy to ensure the methods are reliable and fit-for-purpose and the techniques
utilized are widely accepted and employed in the scientific and forensic community. Summaries
of instrumental methods are available at:

https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596


   *A composite was formed from 1 unit for testing of 1 unit received. Methamphetamine identified in the
        composite. Salt form determined from testing the composite.
  **The net weight was determined by direct weighing of all units. The net weight uncertainty value represents an
        expanded uncertainty estimate at the 95% level of confidence.
      ***Purity determined from testing the composite; the purity and amount pure substance values are
   representative of the entire exhibit. All uncertainty values represent expanded uncertainty estimates at the 95%
   level of confidence.

7. This report, its attachments, and the referenced documents are not an exhaustive or complete
   recitation of testimony that I may offer. In addition, I may offer opinions in response to
   questions posed during trial.



Pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v), I approve the foregoing disclosure.

BRITTANY                 Digitally signed by BRITTANY
                         HUNTINGTON
HUNTINGTON               Date: 2023.03.09 10:58:07 -08'00'
__________________________________________________                              Date: 3/9/2023
Brittany C. Huntington, DEA Senior Forensic Chemist


                                               Digitally signed by PAUL KUSKO
                    PAUL KUSKO                 Date: 2023.03.14 20:21:37
                                               -07'00'
APPROVED: ________________________________________________________________

                        P. Steven Kusko, Supervisory Chemist



   Attachment




SF Rule 16 (Chemistry) (March 2023)                           Approved by: DEA Office of Forensic Sciences (SF)
                                                                                                    Page 3 of 3
                                                                                                  Exhibit 4B-3
                               Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 8 of 23


                              U.S. Department of Justice                                                                                           Western Laboratory
                              Drug Enforcement Administration                                                                                      Pleasanton, CA



                                                                                                                                                                Chemical Analysis Report
HSI - Kalispell                                                                                                         Case Number: 2022332400005801
2 Main Street, Suite 206                                                                                                LIMS Number: 2022-SFL7-04530
Kalispell, MT 59901


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity              Amount Pure Substance
        1                            Methamphetamine Hydrochloride                                         86.5 g ± 0.2 g                         100% ± 6%                         86.5 g ± 5.2 g

Remarks:
The net weight was determined by direct weighing of all units. The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 09/07/2022                                        Gross Weight: 106.4 g                                                   Date Received by Examiner: 09/20/2022

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                             Reserve Wt.
1                                     1                          Ziplock Plastic Bag                               Crystalline                                             86.4 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Methamphetamine identified in the composite. Salt form determined
from testing the composite.

Exhibit           Summary of Test(s)
1                  Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy
Exhibit           Purity Test(s)
1                 DEA 503/UV-Vis Spectroscopy




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Brittany C. Huntington, Senior Forensic Chemist                                                                                             Date: 09/23/2022
Approved By: /S/ Steven-Ray Q. Wing, Forensic Chemist                                                                                                        Date: 09/28/2022

DEA Form 113 August 2019                                                                                                                                                                         Page 1 of 1

                                                                                                       008                                                                Exhibit 4C-1
                                                 CaseDocument
                             Case 9:23-cr-00014-DWM   Details   Report
                                                              17-4 Filed 03/23/23 Page 9 of 23

» I.A. Case #:            REDACTED / LIMS Case #: 2022-SFL7-04530

Investigating Agency: HSI - Kalispell

# of I.A. Exhibits: 1                                                 # of Lab Exhibits: 1



    Exhibit #     Lab Ex #                                               Lab Exhibit Description                                                        Container
        1            1       One plastic zip-lock bag containing white crystalline material.                                                        SSEE (2162346)


Summary of Findings                                                                                                                   Analyst: BCHUNTINGTON (2022.09.23)

Findings
Exhibit                                              Gross Wt                    Net Wt (Reported)                     Net Wt               Reserve Wt       Retained Wt

1                                                     106.4 g                       86.5 g ± 0.2 g            86.56 g ± 0.24061 g              86.4 g

            Constituent                                                    Purity                    APD (Reported)                                 APD
            Methamphetamine Hydrochloride                                100% ± 6%                    86.5 g ± 5.2 g                        86.5 g ± 5.24204 g




Gross Weight                                                                                                                          Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365185
Gross Weight (Reported)                                    105.5 g

Gross Weight (Actual)                                      106.43 g

Gross Weight (delta)                                       0.93 g

Gross Weight (delta %)                                     0.874 %

Weight Discrepancy                                         No

Remarks                                                    No Remarks




Description of Evidence                                                                                                               Analyst: BCHUNTINGTON (2022.09.23)

Seals                                                      Intact

Date Opened                                                2022-09-20

Description                                                One self-sealed evidence envelope containing one plastic zip-lock bag containing white
                                                           crystalline material.
Consistent With Paperwork?                                 Yes

Remarks                                                    No Remarks




Description of Exhibit and Sampling                                                                                                   Analyst: BCHUNTINGTON (2022.09.23)

Number of Packages                                         1 unit

Number of Units                                            1 unit

Package Type                                               Ziplock Plastic Bag

Logo/Impression                                            No

Gross Form                                                 Crystalline

Dry/Moist                                                  Dry

Exemplar                                                   No

Number of Units Tested                                     1 unit

Sampling Procedure                                         Incremental sampling used to form the composite (15 >1g samples taken from the unit),
                                                           which was passed through a 20-mesh sieve. All analyses conducted on the composite.
Deviation from Sampling Plan                               No
Remarks                                                    No Remarks




                                                                                                                                           Exhibit 4D-1
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 10 of 23
                        REDACTED / LIMS Case #: 2022-SFL7-04530

 Exhibit #     Lab Ex #                                                 Lab Exhibit Description                                              Container
      1            1       One plastic zip-lock bag containing white crystalline material.                                                 SSEE (2162346)


Net Weight                                                                                                                     Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365185
Residue                                                  No

Type of Weighing                                         Direct Weighing

Net Weight                                               86.5 g

Net Weight Uncertainty                                   0.2 g

Remarks                                                  Two new lab bags, empty to full.

Use Legacy Calculator                                    No




FTIR Analysis : Run # 1 - Set # 1 Background/blank                                                                             Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365363
Negative Control Run                             Yes

Background                                               Pass

Negative Control Type                                    Instrumental

Negative Control Result                                  Pass

Remarks                                                  No Remarks




FTIR Analysis : Run # 1 - Set # 2 Composite/standard                                                                           Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365363
Negative Control Run                             No

Sample Prep                                              Direct attenuated total reflectance (ATR).

Remarks                                                  No Remarks


Spectral Result
Constituent                                                         Comments
Methamphetamine Hydrochloride, Isomer                               ---
Undetermined




GC-MS Analysis : Run # 1 - Set # 1 Blank                                                                                       Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365397
Negative Control Run                                     Yes

Negative Control Type                                    Instrumental/Solvent

Negative Control Result                                  Pass

Solvent                                                  MeCl2 base extracted (BE) with Na2CO3.

Remarks                                                  No Remarks




GC-MS Analysis : Run # 1 - Set # 2 Composite                                                                                   Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365397
Negative Control Run                                     No

Sample Weighed                                           No

Solvent                                                  BE (Na2CO3) into MeCl2.

Retention Time Matching                                  No

Remarks                                                  Baseline ok.


Spectral Result
Constituent                                                         Comments
Methamphetamine, Isomer & Salt Undetermined                         Retention time within 0.1 minutes of reference material.




                                                                                                                                   Exhibit 4D-2
» I.A. Case #:               Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 11 of 23
                          REDACTED / LIMS Case #: 2022-SFL7-04530

 Exhibit #        Lab Ex #                                                 Lab Exhibit Description                                    Container
      1               1       One plastic zip-lock bag containing white crystalline material.                                       SSEE (2162346)


GC-MS Analysis : Run # 1 - Set # 3 Standard                                                                             Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365397
Negative Control Run                                        No

Sample Weighed                                              No

Solvent                                                     MeCl2

Retention Time Matching                                     No

Remarks                                                     No Remarks


Spectral Result
Constituent                                                              Comments
Methamphetamine, Isomer & Salt Undetermined                              ---




Quantitation : Run # 1 - Set # 1 Blank                                                                                  Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365207, DEA 365422
Type                                                        Blank

Method                                                      DEA 503/UV-Vis Spectroscopy

Remarks                                                     No Remarks
QC Low Result                                               N/A

QC High Result                                              N/A




Quantitation : Run # 1 - Set # 2 Composite                                                                              Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365207, DEA 365422
Type                                                        Sample

Method                                                      DEA 503/UV-Vis Spectroscopy

Dilution Technique                                          Volumetric

Sample Prep - Sample Weight (LabX)                          138.5 mg

Sample Amount (Instrument)                                  138.5 mg

Sample Prep - Initial Volume                                50 mL

Sample Prep - Volume Transferred                            50 mL

Sample Prep - Final Volume                                  50 mL

Sample Prep - Dilution Factor                               50 mL

Dilution Factor                                             50 mL

Remarks                                                     No Remarks


Quantitation
Constituent                                                         RT                    Area                 Height      Width             Purity
Methamphetamine, Isomer & Salt                                                           0.0000                0.0000      0.000            101.050
Undetermined

QC Low Result                                               102.04

QC High Result                                              103.39




Reserve Weight                                                                                                          Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365185
Residue?                                                    No

Type of Calculation                                         No Calculation

Reserve Weight                                              86.4 g

Remarks                                                     Two lab bags, full with previous empty weighing.




                                                                                                                            Exhibit 4D-3
» I.A. Case #:           Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 12 of 23
                     REDACTED / LIMS Case #: 2022-SFL7-04530

 Exhibit #    Lab Ex #                                               Lab Exhibit Description                                                          Container
      1          1        One plastic zip-lock bag containing white crystalline material.                                                           SSEE (2162346)


Description of Reserve Evidence                                                                                                    Analyst: BCHUNTINGTON (2022.09.23)

Description                                             The original packaging, the composite, and the rest of the reserve were each sealed into
                                                        their own new labeled zip-lock bag. All three of these were heat-sealed into the original
                                                        evidence envelope (labeled).
Date Sealed                                             2022-09-23

Remarks                                                 No Remarks




Gross Weight After Analysis                                                                                                        Analyst: BCHUNTINGTON (2022.09.23)
Equipment : DEA 365185
Gross Weight After Analysis                             120.23 g

Remarks                                                 No Remarks




                                                                                                                                         Exhibit 4D-4
                              Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 13 of 23


                              U.S. Department of Justice                                                                                           Western Laboratory
                              Drug Enforcement Administration                                                                                      Pleasanton, CA



                                                                                                                                                                 Chemical Analysis Report
HSI - Kalispell                                                                                                         Case Number: 2022332400005801
2 Main Street, Suite 206                                                                                                LIMS Number: 2022-SFL7-04531
Kalispell, MT 59901


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        2                            N-Phenyl-N-[1-(2-phenylethyl)                                     103.333 g ± 0.003 g                        2.6% ± 0.6%                    2.686 g ± 0.651 g
                             -4-piperidinyl]propanamide (Fentanyl) (calc. as
                                              Hydrochloride)
        2                                       Acetaminophen                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all units. The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Total dosage unit count = 975 tablets (net); 912 tablets (reserve); fentanyl (as hydrochloride) concentration: 2.7 mg/tablet.

Exhibit Details:
Date Accepted by Laboratory: 09/07/2022                                        Gross Weight: 118.3 g                                                   Date Received by Examiner: 11/15/2022

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
2                                   975                               Plastic Bag                                     Tablet                                              96.691 g
Remarks:
5.3 grams removed for special program.


Exhibit Analysis:
Sampling:
Fentanyl identified in 9 units tested of 975 units received indicating, to at least a 95% level of confidence, that at least 70% of the units in
the population contain the substance. A composite was formed from 30 units for further testing. Acetaminophen also identified in the
exhibit.

Exhibit           Summary of Test(s)
2                  Gas Chromatography/Mass Spectrometry, Immunoassay Test
Exhibit           Purity Test(s)
2                 DEA127/Gas Chromatography




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Brittany C. Huntington, Senior Forensic Chemist                                                                                              Date: 11/21/2022
Approved By: /S/ Paul S. Kusko, Supervisory Chemist                                                                                                           Date: 11/22/2022

DEA Form 113 August 2019                                                                                                                                                                       Page 1 of 1

                                                                                                       009                                                                 Exhibit 4E-1
                                                 Case
                             Case 9:23-cr-00014-DWM   Details
                                                    Document 17-4Report
                                                                  Filed 03/23/23 Page 14 of 23

» I.A. Case #:            REDACTED / LIMS Case #: 2022-SFL7-04531

Investigating Agency: HSI - Kalispell

# of I.A. Exhibits: 1                                               # of Lab Exhibits: 2



    Exhibit #     Lab Ex #                                             Lab Exhibit Description                                                      Container
        2             2       One knotted plastic bag containing many round blue and green tablets.                                               SSEE (2162348)


Summary of Findings                                                                                                                 Analyst: BCHUNTINGTON (2022.11.21)

Findings
Exhibit                                              Gross Wt               Net Wt (Reported)                      Net Wt                 Reserve Wt     Retained Wt

2                                                     118.3 g               103.333 g ± 0.003 g             103.333 g ± 0.00252 g            96.691 g

            Constituent                                                 Purity                        APD (Reported)                             APD
            N-Phenyl-N-[1-(2-phenylethyl)                            2.6% ± 0.6%                   2.686 g ± 0.651 g                     2.68666 g ± 0.65081 g
            -4-piperidinyl]propanamide (Fentanyl)
            (calc. as Hydrochloride)
            Acetaminophen




Gross Weight                                                                                                                        Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365204
Gross Weight (Reported)                                   117.5 g

Gross Weight (Actual)                                     118.3 g

Gross Weight (delta)                                      0.8 g

Gross Weight (delta %)                                    0.68 %

Weight Discrepancy                                        No

Remarks                                                   No Remarks




Description of Evidence                                                                                                             Analyst: BCHUNTINGTON (2022.11.21)

Seals                                                     Intact

Date Opened                                               2022-11-18

Description                                               One self-sealed evidence envelope containing one plastic zip-lock bag containing one
                                                          knotted colorless plastic bag containing many round blue and green tablets, each
                                                          imprinted with "M" in a box on one side and "30" over a score on the other.
Consistent With Paperwork?                                Yes

Remarks                                                   No Remarks




                                                                                                                                          Exhibit 4F-1
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 15 of 23
                        REDACTED / LIMS Case #: 2022-SFL7-04531

 Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                     Container
      2            2       One knotted plastic bag containing many round blue and green tablets.                                               SSEE (2162348)


Description of Exhibit and Sampling                                                                                            Analyst: BCHUNTINGTON (2022.11.21)

Number of Packages                                     1 unit

Number of Units                                        975 unit

Package Type                                           Plastic Bag

Logo/Impression                                        No

Gross Form                                             Tablet

Top Logo                                               M

Bottom Logo                                            30

Tablet Shape                                           Round

Tablet Color                                           Blue-Green

Dry/Moist                                              Dry

Exemplar                                               No

Number of Units Tested                                 9 unit

Sampling Procedure                                     9 tablets randomly selected (using Lottery method A) and screened by GC-MS and
                                                       immunoassay. A composite was formed from 30 tablets for further analysis (using the
                                                       remnants of the previously 9 selected plus 21 more using Lottery method A), which was
                                                       ground and passed through a 60-mesh sieve.
Deviation from Sampling Plan                           No
Remarks                                                No Remarks




Net Weight                                                                                                                     Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207
Residue                                                No

Type of Weighing                                       Unit Count Extrapolation

Net Weight                                             103.333 g

Net Weight Uncertainty                                 0.003 g

Total Unit Count                                       975

Average Net Weight per Unit                            0.10597 g

Remarks                                                Two new lab bags, empty to full.

Use Legacy Calculator                                  No




GC-MS Analysis : Run # 1 - Set # 1 Blank                                                                                       Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   Yes

Negative Control Type                                  Instrumental/Solvent

Negative Control Result                                Pass

Solvent                                                MeCl2 base extracted (BE) with NaHCO3.

Remarks                                                No Remarks




                                                                                                                                     Exhibit 4F-2
» I.A. Case #:             Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 16 of 23
                       REDACTED / LIMS Case #: 2022-SFL7-04531

 Exhibit #      Lab Ex #                                            Lab Exhibit Description                                                  Container
      2            2        One knotted plastic bag containing many round blue and green tablets.                                          SSEE (2162348)


GC-MS Analysis : Run # 1 - Set # 2 Tablet 1                                                                                    Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                 No

Remarks                                                 Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                       Comments
Acetaminophen                                                     Retention time within 0.1 minutes of reference material.

Dipyrone                                                          Indicated; not pursued.

N-Phenyl-N-[1-(2-phenylethyl)                                     Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 3 Tablet 2                                                                                    Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                 No

Remarks                                                 Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                       Comments
N-Phenyl-N-[1-(2-phenylethyl)                                     Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 4 Tablet 3                                                                                    Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                 No

Remarks                                                 Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                       Comments
N-Phenyl-N-[1-(2-phenylethyl)                                     Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                    Exhibit 4F-3
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 17 of 23
                       REDACTED / LIMS Case #: 2022-SFL7-04531

 Exhibit #     Lab Ex #                                            Lab Exhibit Description                                                  Container
      2            2       One knotted plastic bag containing many round blue and green tablets.                                          SSEE (2162348)


GC-MS Analysis : Run # 1 - Set # 5 Tablet 4                                                                                   Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 6 Tablet 5                                                                                   Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 7 Tablet 6                                                                                   Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                   Exhibit 4F-4
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 18 of 23
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 Exhibit #     Lab Ex #                                            Lab Exhibit Description                                                  Container
      2            2       One knotted plastic bag containing many round blue and green tablets.                                          SSEE (2162348)


GC-MS Analysis : Run # 1 - Set # 8 Tablet 7                                                                                   Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 9 Tablet 8                                                                                   Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




GC-MS Analysis : Run # 1 - Set # 10 Tablet 9                                                                                  Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                   No

Sample Weighed                                         No

Solvent                                                ~1/2 tablet BE (NaHCO3) into ~1mL MeCl2.

Retention Time Matching                                No

Remarks                                                Tablet material and manufacturing by-products observed. Baseline ok.


Spectral Result
Constituent                                                      Comments
N-Phenyl-N-[1-(2-phenylethyl)                                    Retention time within 0.1 minutes of reference material.
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




                                                                                                                                   Exhibit 4F-5
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 Exhibit #      Lab Ex #                                             Lab Exhibit Description                      Container
         2         2        One knotted plastic bag containing many round blue and green tablets.               SSEE (2162348)


GC-MS Analysis : Run # 1 - Set # 11 Standard                                                        Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365395
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 9:1 ratio of MeCl2:MeOH (9:1)

Retention Time Matching                                 No

Remarks                                                 No Remarks


Spectral Result
Constituent                                                        Comments
Acetaminophen                                                      ---

N-Phenyl-N-[1-(2-phenylethyl)                                      ---
-4-piperidinyl]propanamide (Fentanyl), Salt
Undetermined




Immunoassay Test : Run # 1 - Set # 1 Blank                                                          Analyst: BCHUNTINGTON (2022.11.21)

Negative Control Run                                    Yes

Negative Control Result                                 Pass

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2205033

Remarks                                                 Expires 05-22-2024.




Immunoassay Test : Run # 1 - Set # 2 Tablets 1-9                                                    Analyst: BCHUNTINGTON (2022.11.21)

Negative Control Run                                    No

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2205033

Applicable Units                                        1-9

Result                                                  Positive

Remarks                                                 Expires 05-22-2024.




Immunoassay Test : Run # 1 - Set # 3 Standard                                                       Analyst: BCHUNTINGTON (2022.11.21)

Negative Control Run                                    No

Immunoassay Type                                        Fentanyl Immunoassay Test Strips

Lot Number                                              B2205033

Applicable Units                                        Fentanyl standard 498.

Result                                                  Positive

Remarks                                                 Expires 05-22-2024.




                                                                                                         Exhibit 4F-6
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 Exhibit #        Lab Ex #                                               Lab Exhibit Description                               Container
      2              2        One knotted plastic bag containing many round blue and green tablets.                          SSEE (2162348)


Quantitation : Run # 1 - Set # 1 Standard                                                                        Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207, DEA 365388
Type                                                      Standard

Method                                                    DEA127/Gas Chromatography

Dilution Technique                                        N/A

Sample Amount (Instrument)                                1.0012 mg

Dilution Factor                                           1 mL

Remarks                                                   No Remarks


Quantitation
Constituent                                                       RT                   Area           Height        Width             Purity
Tetracosane                                                      1.997               114.1004         117.9160      0.015             39.982

Fentanyl                                                         3.361               228.1710         221.7689      0.016            100.000




Quantitation : Run # 1 - Set # 2 QC low                                                                          Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207, DEA 365388
Type                                                      Check

Method                                                    DEA127/Gas Chromatography

Dilution Technique                                        N/A

Sample Amount (Instrument)                                5.6008 mg

Dilution Factor                                           1 mL

Remarks                                                   No Remarks


Quantitation
Constituent                                                       RT                   Area           Height        Width             Purity
Tetracosane                                                      1.997               120.5117         121.5218      0.016             7.147

Fentanyl                                                         3.354                91.1975         89.8158       0.016             6.765




Quantitation : Run # 1 - Set # 3 Blank                                                                           Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207, DEA 365388
Type                                                      Blank

Method                                                    DEA127/Gas Chromatography

Remarks                                                   No Remarks


Quantitation
Constituent                                                       RT                   Area           Height        Width             Purity
Fentanyl                                                         0.000                0.0000           0.0000       0.000             0.000

Tetracosane                                                      1.995               113.7825         115.0990      0.016             0.400




                                                                                                                      Exhibit 4F-7
» I.A. Case #:               Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 21 of 23
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 Exhibit #        Lab Ex #                                               Lab Exhibit Description                                                  Container
      2               2       One knotted plastic bag containing many round blue and green tablets.                                             SSEE (2162348)


Quantitation : Run # 1 - Set # 4 Composite                                                                                         Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207, DEA 365388
Type                                                      Sample

Method                                                    DEA127/Gas Chromatography

Dilution Technique                                        Volumetric

Sample Prep - Sample Weight (LabX)                        506.3 mg

Sample Amount (Instrument)                                506.3 mg

Sample Prep - Initial Volume                              10 mL

Sample Prep - Volume Transferred                          10 mL

Sample Prep - Final Volume                                10 mL

Sample Prep - Dilution Factor                             10 mL

Dilution Factor                                           10 mL

Remarks                                                   Amount substance per tablet = average weight of tablet x final purity = 105.97 mg x
                                                          2.6% = 2.7 mg/tablet.

Quantitation
Constituent                                                       RT                   Area                     Height                 Width            Purity
Tetracosane                                                      1.997               108.9274                  109.1202                0.015             0.791

Tetracosane                                                      1.997               109.0817                  109.3735                0.015             0.791

Fentanyl                                                         3.365               295.7726                  267.2876                0.018             2.685

Fentanyl                                                         3.365               296.1742                  275.8600                0.016             2.685




Quantitation : Run # 1 - Set # 5 QC high                                                                                           Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207, DEA 365388
Type                                                      Check

Method                                                    DEA127/Gas Chromatography

Dilution Technique                                        N/A

Sample Amount (Instrument)                                20.0028 mg

Dilution Factor                                           1 mL

Remarks                                                   No Remarks


Quantitation
Constituent                                                       RT                   Area                     Height                 Width            Purity
Tetracosane                                                      1.997               118.3787                  120.3376                0.015             2.001

Fentanyl                                                         3.365               334.0833                  313.5901                0.015             7.064




Exemplar Weight Removed                                                                                                            Analyst: BCHUNTINGTON (2022.11.21)

Amount of Exemplar Removed                                5.3928 g

Remarks                                                   No Remarks




Reserve Weight                                                                                                                     Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207
Residue?                                                  No

Type of Calculation                                       Calculate Dosage Unit

Reserve Weight                                            96.6917 g

Reserve Dosage Units                                      912.4 unit

Remarks                                                   Two lab bags, full with previous empty weighing.




                                                                                                                                         Exhibit 4F-8
» I.A. Case #:           Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 22 of 23
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 Exhibit #    Lab Ex #                                             Lab Exhibit Description                                                        Container
      2          2        One knotted plastic bag containing many round blue and green tablets.                                                 SSEE (2162348)


Description of Reserve Evidence                                                                                                Analyst: BCHUNTINGTON (2022.11.21)

Description                                           The original packaging, the composite, and the reserve tablets were each sealed into
                                                      their own new labeled zip-lock bag. The composite and reserve bags were further
                                                      sealed into one new labeled HSEE. Both of these bags were heat-sealed into the original
                                                      evidence envelope (labeled).
Date Sealed                                           2022-11-21

Remarks                                               No Remarks




Gross Weight After Analysis                                                                                                    Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365204
Gross Weight After Analysis                           126.4 g

Remarks                                               No Remarks




                                                                                                                                     Exhibit 4F-9
» I.A. Case #:           Case 9:23-cr-00014-DWM Document 17-4 Filed 03/23/23 Page 23 of 23
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 Exhibit #    Lab Ex #                                  Lab Exhibit Description                                                       Container
      2           2       FPP.                                                                                                      SSEE (2207502)


Other SP Sample Weight                                                                                                Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365207
Number of Samples                          1

Other SP Total Sample Weight               5.3928 g

Other SP Average Sample Weight             5.3928 g

Remarks                                    No Remarks




Description of Reserve Evidence                                                                                       Analyst: BCHUNTINGTON (2022.11.21)

Description                                50 round blue-green tablets were sealed into one new labeled vial, which was sealed
                                           with parafilm and further sealed into one new labeled plastic bottle, which was sealed
                                           into one new SSEE (labeled).
Date Sealed                                2022-11-21

Remarks                                    No Remarks




Gross Weight - SP/LP                                                                                                  Analyst: BCHUNTINGTON (2022.11.21)
Equipment : DEA 365204
Gross Weight                               73.3 g

Remarks                                    No Remarks




                                                                                                                           Exhibit 4F-10
